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GD-04-024932 Meenan vs Hudson etal
Filing Date: 10/25/2004 Case Type: Other Tort
Filing Time: 3:13:18 Court Type: General Docket
Related Cases: Current Status: Praecipe for Appearance
Judge: No Judge Jury Requested: No
Amount In Dispute: $ .00

*Click on PartylD hyperlink to see Alternative name for the party.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Parties
-- Litigants --
- Initial Service
ID LName FName My Type Address Completion Attorney
[] No Default Schwartz
@1271757 ||Meenan Raymond||---|/Plaintiff ||Address --
_ Available Charles M,
[ No Default Merrick
@1045136 ||Hudson William _ ||--- ||Defendani|| Address -- Suzanne B
_ Available ,
. [ No Default .
Whitehall Merrick
WHITEHALL Borough — --- || Defendant Address -- Suzanne B,
| Available
-- Attorney --
ID ||LName |-FName [Mi|[ Type ||Address [Phone |
22561||Schwartz||Charles ||m ||Plaintif's Attorney ||429 4th Avenue Pittsburgh PA 15219 Sets
. : Defendant's One Oxford Centre Suite 1150 Pittsburgh |/(412)
47724\Merrick |/Suzanne|B | atomey PA 15219 6977403
-- Non Litigants --
iD | LName FName|[MI|[Type ||Address ||Phone|
Sheriff - Allegheny _ ee|| Courthouse Room 111 Pittsburgh PA
SHRFO2 County -- Sheriff 45219 -
EXHIBIT
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Praecipe for Suzanne B.Merrick,Esquire on behalf of wn Document
09/23/2009 Appearance William Hudson & Borough of Whitehall. Hudson William 4
. Meenan Document
09/09/2009 || Complaint Raymond 3
wn . . Sheriff -
. William Hudson served with Writ of Document
42/06/2004 || Sheriff Return Summons on 11/5/04. Allegheny 2
County
Praecipe for Writ of Meenan Document
40/25/2004 Summons returnable 11/24/04 Raymond 1
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10/12/2009

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